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 7

 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11     RICHARD Q. LE, an individual,         Case No.: 2:20-cv-02373
12                Plaintiff,                 COMPLAINT FOR
13          vs.
                                                (1) VIOLATION OF THE UNRUH
14     ROGER ATCKISON, an individual and            CIVIL RIGHTS ACT
       as Trustee of the ATCKISON R & R
15     FAMILY TRUST; REBECCA                        (CALIFORNIA CIVIL CODE §§
       ATCKISON, an individual and as               51, 52);
16     Trustee of the ATCKISON R & R
       FAMILY TRUST;                            (2) VIOLATIONS OF THE
17                                                  AMERICANS WITH
18                Defendants.                       DISABILITIES ACT OF 1990

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28



                                        COMPLAINT
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 1                                                 I.
                                                SUMMARY
 2

 3             1.    This is a civil rights action by plaintiff Richard Q. Le (“Plaintiff”) for
 4     discrimination at the building, structure, facility, complex, property, land,
 5     development, and/or surrounding business complex located at 4351 Maine Ave.,
 6     Baldwin Park, California 91706 (the “Property”). Plaintiff lives approximately 10
 7     minutes from the property and often frequents the area for dining, entertainment, and
 8     shopping. On this particular occasion, Plaintiff desired to patronize the donut store
 9     “Yum Yum” located on the Property.
10             2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
11     and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
12     12101, et seq.) and related California statutes1 against Defendants, the owner of the
13     Property ROGER ATCKISON, an individual and as Trustee of the ATCKISON R &
14     R FAMILY TRUST; REBECCA ATCKISON, an individual and as Trustee of the
15     ATCKISON R & R FAMILY TRUST (collectively, “Defendants”).
16                                                     II.
17                                           JURISDICTION
18             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
19     for ADA claims.
20             4.    Supplemental jurisdiction for claims brought under parallel California
21     law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
22     1367.
23             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
24                                                 III.
25                                                VENUE
26             6.    All actions complained of herein take place within the jurisdiction of the
27     United States District Court, Central District of California, and venue is invoked
28     1
        Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
       amend his complaint at a later time upon discovery of facts which give rise to such a claim.
                                                      1
                                                COMPLAINT
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 1
       pursuant to 28 U.S.C. § 1391(b), (c).
 2
                                                  IV.
 3
                                                PARTIES
 4
             7.       Defendants are or were at the time of the incident, the owner, operator,
 5
       lessor and/or lessee of the Property, and consists of a person (or persons), firm,
 6
       company, and/or corporation.
 7
             8.       Plaintiff is a quadriplegic, and as a result is unable to walk or stand, and
 8
       thus requires a use of a wheelchair at all times when traveling in public. Plaintiff also
 9
       utilizes an accessible van with a fold out ramp. Plaintiff is “physically disabled” as
10
       defined by all applicable California and United States laws, and a member of the
11
       public whose rights are protected by these laws. In the 12 months preceding the filing
12
       of this complaint, Plaintiff has not filed more than 12 construction related accessibility
13
       cases. Plaintiff is not a high-frequency litigant as that term is defined in California
14
       Code of Civil Procedure § 425.55(b).
15
                                                  V.
16
                                                 FACTS
17
             9.       On or about February 2, 2020, Plaintiff went to patronize the Property.
18
       The Property is a sales or retail establishment, open to the public, which is intended
19
       for nonresidential use and whose operation affects commerce.
20
             10.      Plaintiff visited the Property and encountered barriers (both physical and
21
       intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
22
       enjoy the goods, services, privileges and accommodations offered at the facility. To
23
       the extent known by Plaintiff, the barriers at the Property included, but are not limited
24
       to the following:
25
                   a. Parking spaces are not properly configured or have faded paint making it
26
                      difficult for Plaintiff to discern which spaces are meant to accommodate
27
                      Plaintiff
28
                   b. Accessible parking spaces are not accompanied with properly configured
                                                       2
                                               COMPLAINT
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 1
                      access aisles. Specifically, there is no access aisle for Plaintiff’s ramp to
 2
                      unfold, which is necessary for Plaintiff to enter and exit his vehicle.
 3
                   c. Parking spaces are not properly marked with vertical signage. This along
 4
                      with the faded pavement markings make it difficult for Plaintiff to
 5
                      determine which spaces can and will accommodate Plaintiff’s disability.
 6
             11.      These barriers to access are listed without prejudice to Plaintiff citing
 7
       additional barriers to access after inspection by Plaintiff’s access consultant, per the
 8
       9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
 9
       2008). These barriers prevented Plaintiff from enjoying full and equal access to the
10
       Property.
11
             12.      Plaintiff experienced difficulty, discomfort and embarrassment from the
12
       accessible barriers he encountered. Although he would like to visit the Property
13
       again, he continues to be deterred from visiting the Property because of the future
14
       threats of injury created by these barriers. Plaintiff would like to return to the
15
       Property as he enjoys the donuts offered at the Property and the donut shop is located
16
       close to his home.
17
             13.      Defendants knew that these elements and areas of the Property were
18
       inaccessible, violate state and federal law, and interfere with (or deny) access to the
19
       physically disabled. Moreover, Defendants have the financial resources to remove
20
       these barriers from the Property (without much difficult or expense), and make the
21
       Property accessible to the physically disabled. To date, however, the Defendants
22
       refuse to remove those barriers.
23
             14.      At all relevant times, Defendants have possessed and enjoyed sufficient
24
       control and authority to modify the Property to remove impediments to wheelchair
25
       access and to comply with the Americans with Disabilities Act Accessibility
26
       Guidelines and Title 24 regulations. Defendants have not removed such impediments
27
       and have not modified the Property to conform to accessibility standards.
28
                                                  VI.
                                                     3
                                               COMPLAINT
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 1
             FIRSTCAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
 2
             INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
 3
        AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
 4
                                       CODE SECTION 51(f)
 5
             15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
 6
       15 for this claim and incorporates them herein.
 7
             16.    At all times relevant to this complaint, California Civil Code § 51 has
 8
       provided that physically disabled persons are free and equal citizens of the state,
 9
       regardless of disability or medical condition:
10
             All persons within the jurisdiction of this state are free and equal, and
11
             no matter what their sex, race, color, religion, ancestry, national
12
             origin, disability, or medical condition are entitled to the full and
13
             equal accommodations, advantages, facilities, privileges, or services
14
             in all business establishments of every kind whatsoever. Cal. Civ.
15
             Code § 51(b).
16
             17.     California Civil Code § 52 provides that the discrimination by
17
       Defendants against Plaintiff on the basis of his disabilities constitutes a violation of
18
       the anti-discrimination provisions of §§ 51 and 52.
19
             18.    Defendants’ discrimination constitutes a separate and distinct violation of
20
       California Civil Code § 52 which provides that:
21
             Whoever denies, aids or incites a denial, or makes any discrimination
22
             or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
23
             every offense for the actual damages, and any amount that may be
24
             determined by a jury, or a court sitting without a jury, up to a
25
             maximum of three times the amount of actual damage but in no case
26
             less than four thousand dollars ($4,000) and any attorney’s fees that
27
             may be determined by the court in addition thereto, suffered by any
28
             person denied the rights provided in Section 51, 51.5 or 51.6.
                                                    4
                                             COMPLAINT
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 1
             19.    Plaintiff continues to be deterred from visiting the Subject Property based
 2
       upon the existence of the accessible barriers. In addition to the occurrence in
 3
       February 2020, Plaintiff is entitled to $4,000.00 in statutory damages for each
 4
       additional occurrence of discrimination under California Civil Code § 52.
 5
             20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
 6
       the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
 7
       thus independently justifying an award of damages and injunctive relief pursuant to
 8
       California law. Per § 51(f), “[a] violation of the right of any individual under the
 9
       Americans with Disabilities Act of 1990 … shall also constitute a violation of this
10
       section.”
11
             21.    The actions and omissions of Defendants as herein alleged constitute a
12
       denial of access to and use of the described public facilities by physically disabled
13
       persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
14
       result of Defendants’ action and omissions Defendants have discriminated against
15
       Plaintiff in a violation of Civil Code §§ 51 and 51.
16
                                                 VII.
17
        SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
18
                     DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
19
             22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
20
       21 for this claim and incorporates them herein.
21
             23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
22
       Congress passed “Title III – Public Accommodations and Services Operated by
23
       Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
24
       entities” which are considered “public accommodations” for purposes of this title,
25
       which includes any “restaurant, bar, or other sales or rental establishment serving food
26
       or drink.” § 301(7)(B).
27
             24.    The ADA states that “[n]o individual shall be discriminated against on
28
       the basis of disability in the full and equal enjoyment of the goods, services, facilities,
                                                    5
                                             COMPLAINT
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 1
       privileges, advantages, or accommodations of any place of public accommodation by
 2
       any person who owns, leases, or leases to, or operates a place of public
 3
       accommodation.” 42 U.S.C. § 12182.
 4
             25.    The acts and omissions of Defendants set forth herein were in violation
 5
       of Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28
 6
       CFR Part 36 et seq.
 7
             26.    On information and belief, Plaintiff alleges that the Property was
 8
       constructed after January 26, 1992.
 9
             27.    On information and belief, Plaintiff alleges that the removal of each of
10
       the barriers complained of by Plaintiff as hereinabove alleged, were at all times herein
11
       mentioned "readily achievable" under the standards §§ 30 l and 302 of the ADA. As
12
       noted hereinabove, removal of each and every one of the architectural barriers
13
       complained of herein were also required under California law. Further, on information
14
       and belief, alterations, structural repairs or additions since January 26, 1993 have also
15
       independently triggered requirements for removal of barriers to access for disabled
16
       persons per § 303 of the ADA. In the event that removal of any barrier is found to be
17
       "not readily achievable," Defendants still violated the ADA, per§ 302(b )(2)(A)(v) by
18
       failing to provide all goods, services, privileges, advantages and accommodations
19
       through alternative methods that were readily achievable.
20
             28.    On information and belief, as of the date of Plaintiff’s encounter at the
21
       Property and as of the filing of this Complaint, the Defendants have denied and
22
       continue to deny full and equal access to Plaintiff and to other disabled persons,
23
       including wheelchair users, in other respects, which violate plaintiff's rights to full and
24
       equal access and which discriminate against Plaintiff on the basis of his disability,
25
       thus wrongfully denying to plaintiff the full and equal enjoyment of the goods,
26
       services, facilities, privileges, advantages and accommodations, in violation of§§ 302
27
       and 303 of the ADA. 42 USC§§ 12182 and 12183.
28
             29.    On information and belief, Defendants have continued to violate the law
                                                   6
                                             COMPLAINT
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 1
       and deny the rights of Plaintiff and other disabled persons to access this public
 2
       accommodation since on or before Plaintiff's encounters, as previously noted.
 3
       Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
 4
       remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
 5
       2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
 6
       in violation of the ADA or has reasonable grounds for believing that he is about to be
 7
       subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
 8
       )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
 9
       make such facilities readily accessible to and usable by individuals with disabilities to
10
       the extent required by this title."
11
             30.     Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
12
       Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
13
       adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
14
       qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
15
       to discrimination on the basis of disability in violation of Title III and who has
16
       reasonable grounds for believing he will be subjected to such discrimination each time
17
       that he may attempt to use the property and premises.
18

19
                                                PRAYER
20
             WHEREFORE, Plaintiff prays that this court award damages and provide relief
21
       as follows:
22
          1. Issue a preliminary and permanent injunction directing Defendants as current
23
       owners, operators, lessors, and/or lessees of the Property to modify the above
24
       described Property and related facilities so that each provides full and equal access to
25
       all persons, including but not limited to persons with physical disabilities who use
26
       wheelchairs, and issue a preliminary and permanent injunction directing Defendants to
27
       provide and maintain facilities usable by Plaintiff and similarly situated persons with
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                                                     7
                                              COMPLAINT
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 1
       disabilities, and which provide full and equal access, as required by law, including
 2
       appropriate changes in policy;
 3
          2. Retain jurisdiction over the Defendants until such time as the Court is satisfied
 4
       that Defendants’ unlawful policies, practices, acts and omissions, and maintenance of
 5
       inaccessible public facilities as complained of herein no longer occur, and can not
 6
       recur;
 7
          3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
 8
       deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
 9
       in this case, all according to proof;
10
          4. Award to Plaintiff all appropriate damages, including but not limited to
11
       statutory damages, general damages and treble damages in amounts within the
12
       jurisdiction of this Court, all according to proof;
13
          5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
14
       costs of this proceeding as provided by law;
15
          6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
16
       3291;
17
          7. Grant such other and further relief as this Court may deem just and proper.
18

19

20                                             ASCENSION LAW GROUP, PC

21         DATE: March 12, 2020

22                                                        /s/Pamela Tsao

23                                             Pamela Tsao, attorney for Plaintiff

24                                                     RICHARD Q. LE

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                                                      8
                                                COMPLAINT
